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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                  CASE NO.: 20-CV-81205-RAR

   SECURITIES AND EXCHANGE
   COMMISSION,

          Plaintiff,
   v.

   COMPLETE BUSINESS SOLUTIONS
   GROUP, INC. d/b/a PAR FUNDING, et al.

         Defendants.
   ______________________________________/

    DANIEL SCARAMELLINO, ONE NINE COUNTRY DRIVE, LLC, AND MICHELLE
    SCARAMELLINO’S UNOPPOSED JOINT MOTION FOR EXTENSION OF TIME TO
      FILE RESPONSE IN OPPOSITION TO RECEIVER’S EXPEDITED MOTION TO
                     EXPAND RECEIVERSHIP [ECF NO. 1180]

          Interested Parties, Daniel Scaramellino, 19 Country Drive, LLC, and Michelle

   Scaramellino (collectively, “Responding Parties”), through their undersigned counsel, hereby

   jointly file this unopposed Motion for Extension of Time to File Response to Receiver, Ryan K.

   Stumphauzer’s Expedited Motion to Expand the Receivership to Include 19 Country Drive,

   Morristown, NJ 07960 [ECF No. 1180] (the “Expedited Motion”), and state as follows:

          1.      Pursuant to the Court’s original order (Doc. No. 1182), the Responding Parties

   were to file their response to the Expedited Motion on March 24, 2022.

          2.      On about March 24, 2022, The Receiver and the Responding Parties had reached

   an agreement in principle to an escrow procedure regarding the proceeds of the sale of the New

   Jersey Property, with the intent of providing the parties a 30-day opportunity to attempt reach a

   settlement regarding the Motion to Expedite. The Respondents worked for hours on attempting

   to reach the agreement, however, due to information learned by Receiver’s counsel at about



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   11:45 p.m. or so on March 24, 2022, Receiver’s counsel indicated that the Receiver needs to

   discuss the issues further and determine how to proceed. Thus, the Responding Parties filed their

   First Motion for Extension to File their Response (the “Motion for Extension”) (Doc. No. 1193).

           3.    On April 1, 2022, the Responding Parties filed their Second Unopposed Motion

   for Extension, seeking 7 additional days to file their response (Doc. No. 1204) (the “Second

   Motion for Extension”), to which the Court granted on April 1, 2022 (Doc. No. 1205).

           4.    On April 8, 2022, the Receiver and the Responding Parties reached a partial

   agreement allowing for the sale of the Property, but with funds to be held in escrow pending

   resolution of the remaining Motion to Expand Receivership and/or a global settlement. The

   parties filed their Joint Motion to Amend/Correct the original Order and seeking extension of

   time to respond to the Motion to Expand (Doc. No. 1208) (the “Joint Motion to Modify”).

           5.    On April 9, 2022, the Court entered its Order Granting the Joint Motion to Modify

   (Doc. No. 1209).

           6.    On May 10, 2022, the Court entered an order Granting the Joint Expedited

   Motion (doc 1228) for a 7-day extension of time to respond to the Motion to Expand (doc. 1229),

   which currently sets the deadline for the Responding Parties to file their responses to May 16,

   2022.

           7.    On May 16, 2022, the Responding Parties filed their unopposed motion for a 14-

   day extension (doc. 1243) to respond to the Motion to Expand, particularly since Scaramellino

   had just provided submitted, which the Court granted (see Doc. 1244).

           8.    Thus, based on the current order, the Responding Parties’ deadline to file their

   response to the Motion to Expand is May 31, 2022.




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          9.      Now that the sale of the Property has been completed, Mr. Scaramellino has been

   preparing and tax documents and has been gathering information needed to further settlement

   discussions. Additional time is needed to obtain additional information related to the viability of

   a global settlement between Mr. Scaramellino and the Receiver related to the underlying breach

   of contract claims pending. Ms. Scaramellino has also provided a substantial settlement offer to

   which the Receiver should be given adequate time to analyze and discuss follow up information

   regarding the same, and provide any counteroffer.

          10.       As a result, the Responding Parties require a 21-day extension of their response

   deadline. This will provide time to see whether the agreement in principle can be reached or to

   otherwise finalize their response.

          11.     In view of the circumstances and continued developments and steps toward

   settlement, the Receiver has no objection to the foregoing 21-day extension.

          12.     If a global settlement cannot be reached with the Receiver, and as will be set out

   in more detail in their responses, the Responding Parties continue to oppose the Expedited

   Motion on numerous grounds, including due process and jurisdiction, among others, and would

   request an evidentiary hearing and a right to full discovery. This Motion is with full reservation

   of all rights and arguments and is not a submission to jurisdiction.

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          WHEREFORE, the Responding Parties, respectfully request that this Court enter an order

   extending the deadline for the Responding Parties to file a response for twenty-one (21)

   additional days, through and including, June 21, 2022, and for such other relief as the Court

   deems just.



   Dated: May 31, 2022
                                                     Respectfully submitted,

                                                     /s/ James D. Silver
                                                     James D. Silver, Florida Bar No.: 373702
                                                     KELLEY KRONENBERG, P.A.
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                                                     Counsel for 19 Country Drive, LLC and
                                                     Michelle Scaramellino

                                                     and

                                                     /s/ Katie Brinson Hinton
                                                     KATIE BRINSON HINTON, ESQ.
                                                     Florida Bar No. 0022367
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                                                     Telephone: (813) 229-2800
                                                     khinton@jennislaw.com
                                                      ecf@jennislaw.com
                                                     Attorney for Daniel Scaramellino

                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on May 31, 2022, a true and correct copy of the foregoing

   was filed with the Clerk of the Court using CM/ECF.

                                                     /s/Katie Brinson Hinton
                                                     Katie Brinson Hinton



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